                    Case 21-50249-KBO             Doc 1   Filed 03/18/21     Page 1 of 11




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 7

     DIVERSIFIED MERCURY                                            Case No. 19-10757-KBO
     COMMUNICATIONS, LLC, et al.,1                                  (Jointly Administered)

                                     Debtors.


    GEORGE L. MILLER, solely in his capacity as
    chapter 7 trustee of Diversified Mercury
    Communications, LLC and DTR Advertising, Inc.,

                                     Plaintiff,
                                                                    Adv. Pro. No. __ - _____-KBO
                     v.

    DIRECT RESULTS RADIO INC.,

                                     Defendant.


      COMPLAINT TO AVOID AND RECOVER TRANSFERS PURSUANT TO 11 U.S.C.
      §§ 547, 548, AND 550 AND TO DISALLOW CLAIMS PURSUANT TO 11 U.S.C. § 502


             George L. Miller, solely in his capacity as the chapter 7 trustee (“Trustee” or “Plaintiff”)

of Diversified Mercury Communications, LLC (“DMC”) and DTR Advertising, Inc. (“DTR” and,

together with DMC, “Debtors”), by and through his undersigned counsel, files this complaint (the

“Complaint”) against Direct Results Radio Inc. (“Defendant”) to avoid and recover preferential

and/or fraudulent transfers and to disallow any claims held by Defendant. In support of this

Complaint, Plaintiff alleges as follows:




1
 The Debtors in these cases are: (i) Diversified Mercury Communications, LLC a/k/a Mercury Media and (ii) DTR
Advertising, Inc.
               Case 21-50249-KBO         Doc 1       Filed 03/18/21   Page 2 of 11




                                   NATURE OF THE CASE

       1.      Plaintiff seeks to avoid and recover from the Defendant, or from any other person

or entity for whose benefit the transfers were made, all preferential and/or fraudulent transfers of

property that occurred during the ninety (90) day period prior to the commencement of the

Debtors’ bankruptcy cases, pursuant to sections 547, 548, and 550 of chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”).

       2.      In addition, Plaintiff seeks to disallow, pursuant to section 502(d) of the Bankruptcy

Code, any claim Defendant has filed or asserted against the Debtors’ estates. Plaintiff does not

waive but hereby reserves all of his rights to object to any such claim for any reason.

                                JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over this adversary proceeding pursuant

to 28 U.S.C. §§ 157 and 1334(b).

       4.      This adversary proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1409.

       6.      The predicates for the relief sought herein are sections 502, 547, 548, and 550 of

the Bankruptcy Code and Rules 3007 and 7001 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”).

       7.      Pursuant to Bankruptcy Rule 7008 and Rule 7008-1 of the Local Rules of

Bankruptcy Procedure of the United States Bankruptcy Court for the District of Delaware, Plaintiff

consents to the entry of final orders and judgment by the Court in this adversary proceeding.

                               BACKGROUND AND PARTIES

       8.      On April 3, 2019 (the “Petition Date”), an involuntary chapter 7 petition for relief

was filed against DMC in this Court.



                                                 2
               Case 21-50249-KBO          Doc 1       Filed 03/18/21   Page 3 of 11




       9.      On May 2, 2019, this Court entered an Order for Relief in an Involuntary Case

against DMC.

       10.     On May 23, 2019, DTR, an affiliate of DMC, filed with this Court a voluntary

petition for relief under chapter 7 of the Bankruptcy Code.

       11.     On May 29, 2019, the Bankruptcy Court entered an order directing the joint

administration of the Debtors’ chapter 7 cases.

       12.     George L. Miller is the duly appointed chapter 7 trustee of the Debtors’ estates.

       13.     Prior to the bankruptcy filings, the Debtors were a full service direct response media

agency with various businesses, including short form, long form, and digital advertising media

businesses, under the name “Mercury Media.”

       14.     On or about January 4, 2019, the Debtors sold substantially all of DTR’s assets

relating to its long-form direct response business.

       15.     On or about January 11, 2019, the Debtors sold substantially all of their assets

relating to their short-form direct response and digital advertising media businesses.

       16.     According to the official claims registers maintained in these cases, as of the filing

of this Complaint, more than $15 million in claims have been filed against one or both of the

Debtors.

       17.     As demonstrated by the official claims registers in the Debtors’ cases, the Debtors’

Schedules of Assets and Liabilities and the Debtors’ books and records, the Debtors were and

remained insolvent at all times relevant to the allegations contained in this Complaint.

       18.     Upon information and belief, Defendant was, at all relevant times, a vendor that

provided goods and/or services to or for the Debtors, a customer of the Debtors, or a creditor of

the Debtors.



                                                  3
              Case 21-50249-KBO          Doc 1       Filed 03/18/21   Page 4 of 11




       19.     Upon further information and belief, Defendant’s headquarters are located at

815 Hampton Drive, Suite 2B, Venice, California 90291.

                                 PREPETITION TRANSFERS

       20.     During the ninety (90) days before the Petition Date, that is between January 3,

2019 and April 3, 2019 (the “Preference Period”), the Debtors continued to make certain transfers

of money to, among others, the Debtors’ vendors, customers, and creditors.

       21.     During the Preference Period, Debtor DMC made one or more transfer(s) of an

interest of the Debtors’ property to or for the benefit of the Defendant through payments and other

credits aggregating not less than the amount set forth on Exhibit A hereto (each a “Transfer” and

collectively, “Transfers”). The details of each Transfer are set forth on Exhibit A attached hereto

and incorporated by reference.

       22.     By this Complaint, Plaintiff seeks to avoid and recover all of the Transfers and any

other unknown transfers of interests of the Debtors’ property made by the Debtors to the Defendant

within the Preference Period.

       23.     Prior to Plaintiff filing this Complaint, Plaintiff performed his own due diligence

evaluation of the reasonably knowable affirmative defenses available to Defendant.

       24.     Plaintiff conducted a preliminary review of the Debtors’ books and records to

determine whether certain prepetition transfers qualified as preferential transfers.       Plaintiff

reviewed, inter alia, the Debtors’ Schedules of Assets and Liabilities, available books and records

of the Debtors, and any proofs of claim filed by Defendant.

       25.     On or about October 23, 2019, Plaintiff sent a letter requesting that Defendant

respond and provide support for any defenses to avoidance of the Transfers. As of the filing of

this Complaint, no substantive response to that letter has been received from Defendant.



                                                 4
               Case 21-50249-KBO          Doc 1       Filed 03/18/21   Page 5 of 11




       26.     Plaintiff and his advisors have reviewed all reasonably available information and,

based thereon, Plaintiff has determined that he may avoid the Transfers, or a portion thereof, even

after consideration of any statutory defenses available under section 547(c) the Bankruptcy Code.

       27.     Pursuant to section 547(g), Defendant bears the ultimate burden of proof on any

affirmative defense to the Transfers. Plaintiff does not concede the validity of any defense,

reserves all rights in connection therewith, and leaves Defendant to its burden.

                                     CLAIMS FOR RELIEF

                                   First Claim for Relief
                (Avoidance of Preference Period Transfers – 11 U.S.C. § 547)

       28.     Plaintiff incorporates all preceding paragraphs as if fully set forth herein.

       29.     During the Preference Period, DMC made Transfers to or for the benefit of

Defendant in an aggregate amount not less than the amount set forth on Exhibit A hereto.

       30.     Each Transfer was made by DMC and constituted a transfer of an interest in

property of DMC.

       31.     Defendant was a creditor of DMC by virtue of supplying goods and/or services to

the Debtors for which DMC was obligated to pay in accordance with the terms of any agreements

between the parties, or otherwise was a creditor of DMC.

       32.     Each Transfer was to or for the benefit of a creditor within the meaning of 11 U.S.C.

§ 547(b)(1) because each Transfer either reduced or fully satisfied a debt or debts then owed by

DMC to Defendant.

       33.     Each Transfer was made for, or on account of, an antecedent debt owed by DMC

to Defendant before the Transfers were made.




                                                  5
                Case 21-50249-KBO         Doc 1       Filed 03/18/21   Page 6 of 11




        34.     Each Transfer was made while the Debtors were insolvent. DMC is entitled to the

presumption of insolvency for each Transfer made during the Preference Period pursuant to

11 U.S.C. § 547(f).

        35.     As a result of each Transfer, Defendant received more than Defendant would have

received (i) through these chapter 7 cases; (ii) the Transfers had not been made; and (iii) if

Defendant received payments on account of such debt under the provisions of the Bankruptcy

Code.

        36.     In accordance with the foregoing, each Transfer is avoidable pursuant to 11 U.S.C.

§ 547(b).

                                 Second Claim for Relief
              (Avoidance of Fraudulent Conveyances – 11 U.S.C. § 548(a)(1)(B))

        37.     Plaintiff repeats each and every allegation previously set forth in this Complaint as

if fully set forth herein.

        38.     To the extent one or more of the Transfers identified on Exhibit A was not made

on account of an antecedent debt, was an advance or prepayment for goods and/or services, which

were never provided or which the value of such goods and/or services did not constitute reasonably

equivalent value in exchange for such Transfer(s), and/or was a debt incurred by an entity other

than DMC but paid for by DMC, Plaintiff pleads in the alternative that DMC did not receive

reasonably equivalent value in exchange for the Transfers; and the Debtors: (a) were insolvent as

of the date of the Transfers, or became insolvent as a result of the Transfers; (b) were engaged, or

about to engage, in business or a transaction for which any property remaining with the Debtors

was an unreasonably small capital; or (c) intended to incur, or believed they would incur, debts

beyond their ability to pay upon maturity.




                                                  6
                Case 21-50249-KBO          Doc 1       Filed 03/18/21   Page 7 of 11




       39.      Based the foregoing, the Transfers are avoidable pursuant to 11 U.S.C.

§ 548(a)(1)(B).

                                    Third Claim for Relief
                       (Recovery of Avoided Transfers – 11 U.S.C. § 550)

       40.      Plaintiff incorporates all preceding paragraphs as if fully set forth herein.

       41.      Plaintiff is entitled to avoid the Transfers pursuant to 11 U.S.C. §§ 547(b) and/or

548(a)(1)(B).

       42.      Defendant was the initial transferee of the Transfers or the immediate or mediate

transferee of such initial transferee or the person for whose benefit the Transfers were made.

       43.      Pursuant to 11 U.S.C. § 550(a), Plaintiff is entitled to recover from Defendant the

Transfer, plus interest thereon to the date of payment and the costs of this action.

                                    Fourth Claim for Relief
                        (Disallowance of all Claims – 11 U.S.C. § 502(d))

       44.      Plaintiff incorporates all preceding paragraphs as if fully set forth herein.

       45.      Defendant is a transferee of the Transfers under sections 547 or 548 of the

Bankruptcy Code, which property is recoverable under section 550 of the Bankruptcy Code.

       46.      Defendant has not paid the amount of the Transfer, or turned over such property,

for which Defendant is liable under 11 U.S.C. § 550.

       47.      Pursuant to 11 U.S.C. § 502(d), any and all claims of Defendant and/or its assignee,

against the Debtors’ estates must be disallowed until such time as Defendant pays to Plaintiff an

amount equal to the aggregate amount of the Transfer, plus interest thereon and costs.

                                  RESERVATION OF RIGHTS

       48.      During the course of this proceeding, Plaintiff may learn through discovery or

otherwise of additional transfers made to Defendant during the Preference Period or that otherwise


                                                   7
               Case 21-50249-KBO           Doc 1       Filed 03/18/21   Page 8 of 11




may be avoidable under the provisions of the Bankruptcy Code or other applicable law. It is

Plaintiff’s intention to avoid and recover all avoidable transfers of property made by the Debtors

to or for the benefit of Defendant or any other transferee. Plaintiff reserves all rights to amend this

original Complaint to include: (i) further information regarding the Transfers, (ii) additional

transfers, (iii) modifications of and/or revisions to Defendant’s name, (iv) additional defendants,

and/or (v) additional causes of action, if applicable (collectively, the “Amendments”), that may

become known to Plaintiff at any time during this adversary proceeding, through formal discovery

or otherwise, and for the Amendments to relate back to this original Complaint.

                                          CONCLUSION

       WHEREFORE, for the foregoing reasons, Plaintiff demands judgment against the

Defendant as follows:

       A.      Avoiding the Transfers pursuant to 11 U.S.C. §§ 547(b) and/or 548(a)(1)(B);

       B.      Allowing the recovery of the monetary value of the Transfers, plus interest pursuant

to 11 U.S.C. § 550(a);

       C.      Disallowing any claims held by Defendant against the Debtors’ estates until

Defendant returns the Transfers to Plaintiff pursuant to 11 U.S.C. § 502(d);

       D.      Awarding interest from the date of the Complaint;

       E.      Awarding fees and costs; and




                                                   8
              Case 21-50249-KBO        Doc 1       Filed 03/18/21   Page 9 of 11




       F.     Such other and further relief as this Court may deem just and proper.


Dated: March 18, 2021                       By:      /s/ Bryan J. Hall
Wilmington, Delaware                                 David W. Carickhoff (No. 3715)
                                                     Bryan J. Hall (No. 6285)
                                                     300 Delaware Ave., Suite 1100
                                                     Wilmington, DE 19801
                                                     (302) 777-4350
                                                     (302) 777-4352 (fax)
                                                     dcarickhoff@archerlaw.com
                                                     bjhall@archerlaw.com

                                                     Attorneys for Chapter 7 Trustee,
                                                     George L. Miller


220481146v1




                                               9
Case 21-50249-KBO   Doc 1   Filed 03/18/21   Page 10 of 11




                     EXHIBIT A

             SCHEDULE OF TRANSFERS
                           Case 21-50249-KBO            Doc 1      Filed 03/18/21          Page 11 of 11


Diversified Mercury Communications, LLC
Bankruptcy Case No. 19-10757 (KBO)
Preference Period Transfers
Exhibit A

                                          Transfer    Check   Transfer                        Invoice                   Associated
        Defendant           Check Date      Date     Number    Type    Transfer Amount       Number    Invoice Date   Invoice Amount
Direct Results Radio Inc    11/30/2018    1/3/2019    64509    Check   $      493,349.34   FIEN-082018   8/26/2018    $    493,349.34

                                                                       $      493,349.34                              $    493,349.34
